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FILED
JUL 25 2023
IN THE UNITED STATES DISTRICT COURT NORTHERN DRSTHIGT OF OHO
FOR THE NORTHERN DISTRICT OF OHIO CLEVELAND
EASTERN DIVISION

UNITED STATES OF AMERICA, INDICTMENT

Plaintiff,

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Title 18, United States Code,
Sections 2252(a)(2) and
2252A(a\(5)(B)

JUDGE PEARSON

JAMES R. KRUKOWSKI,

Defendant,

(Receipt and Distribution of Visual Depictons of Real Minors Engaged In Sexually Explicit
Conduct, 18 U.S.C, § 2252¢a)(2))
The Grand Jury charges:

I. From on ot about August 30, 2020 to on or about March 27, 2023, in the Northern
District of Ohio, Eastern Division, and elsewhere, Defendant JAMES R, KRUKOWSKI did
knowingly receive and distribute, using any means and facility of interstate and foreign
commerce, numerous computer files, which files contained visual depictions of real minors
engaged in sexually explicit conduct, and which files had been shipped and transported in and

affecting interstate and foreign commerce, as defined in Title 18, United States Code, Section

2256(2), in violation of Title 18, United States Code, Section 2252(a)(2).

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COUNT 2
(Possession of Child Pornography, 18 U.S.C, § 2252A(a)(5)(B))

The Grand Jury further charges:

2, On or about June 8, 2023, in the Northern District of Ohio, Eastern Division,
Defendant JAMES R. KRUKOWSKI did knowingly possess a Del! Inspiron Desktop computer
that contained child pornography as defined in Title 18, United States Code, Section 2256(8),
which child pornography had been shipped and transported in interstate and foreign commerce
by any means, including by computer, and which was produced using materials which had been
shipped and transported in interstate and foreign commerce by any means, including by
computer, and at least one image involved in the offense involved a prepubescent minor or a
minor who had not attained 12 years of age, in violation of Title 18, United States Code, Section

2252A(a)(5)(B).

_ A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,

